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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                         :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                :   BANKRUPTCY NO. 22-10609(AMC)

                            Debtor         :


          NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

       Scungio Borst & Associates, LLC has filed a Motion for entry of an Order (I)
Authorizing the Sale of a 2010 16’ Carolina Skiff Boat Model 16 JVX [Identification No.
EKHOT 605C0 10], 2011 Venture Trailer Model VASK-2100 [Identification No.
47GAK1819BB000004] and Related Accessories Free and Clear of all Liens, Claims and
Encumbrances Pursuant to 11 U.S.C. § 363 and (II) Granting the Request for a Waiver of 14 Day
Stay Pursuant to Fed. R. Bankr. P. 6004(h) (the “Motion”).

         1.   Your rights may be affected. You should read these papers carefully and
              discuss them with your attorney, if you have one in this bankruptcy case. (If
              you do not have an attorney, you may wish to consult an attorney.)

         2.   Written objections or other responsive pleadings to the Motion (while not
              required) may be filed up to the time of the hearing and all objections will be
              considered at the hearing.

         3.   A hearing on the Motion is scheduled to be held on August 30, 2022 at 12:00
              p.m. before The Honorable Ashely M. Chan in United States Bankruptcy
              Court. Unless the court orders otherwise, the hearing on this contested matter
              will be an evidentiary hearing. The hearing will be conducted telephonically
              as follows: TELEPHONIC PROCEDURES FOR OUTSIDE CALLERS:
              Judge Chan - Phone Number: 877-873-8017; Access Code: 3027681. Dial in;
              enter Judge Chan’s Access Code followed by the # sign.

         4.   You may contact the Bankruptcy Clerk’s office for Philadelphia cases at (215)
              408-2800 to find out whether the hearing has been cancelled because no one filed
              a response.

         5.   If a copy of the Motion is not enclosed, a copy of the Motion will be provided to
              you if you request a copy from the attorney whose name and address is listed
              below.
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                                      Filing Instructions

      6.     If you are required to file documents electronically by Local Bankruptcy
             Rule 5005-1, you must file your response electronically.

      7.            If you are not required to file electronically, you must file your response at

                             Clerk
                             United States Bankruptcy Court
                             for the Eastern District of Pennsylvania
                             Robert N.C. Nix Building, Suite 400
                             900 Market Street
                             Philadelphia, PA 19107

      8.     If you mail your response to the Bankruptcy Clerk’s office for filing, you must
             mail it early enough so that it will be received on or before the date stated in
             Paragraph 3 on the previous page of this Notice.

      9.     On the same day that you file or mail your Response to the Motion, you must mail
             or deliver a copy of the Response to the movant’s attorney:

                             Aris J. Karalis, Esquire
                             Robert W. Seitzer, Esquire
                             Karalis PC
                             1900 Spruce Street
                             Philadelphia, PA 19103
                             Phone No.: (215) 546-4500
                             Fax No.: (215) 985-4175
                             E-mail addresses:       akaralis@karalislaw.com
                                                     rseitzer@karalislaw.com

Dated: August 24, 2022




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